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19                            UNITED STATES DISTRICT COURT

20                          NORTHERN DISTRICT OF CALIFORNIA

21                                       San Jose Division

22 MARIO PALZA, CHARLES BOULAIS,                   )   Master File No.: C-05-03774-RMW
   NISSA GAY, TREVOR LOEW, PAUL                    )
23 BERLINER, STEPHANIE DANIEL,                     )   CLASS ACTION
   RICHARD GANS and NORM SUN on Behalf             )
24 of Themselves and for the Benefit of All with   )   FIRST AMENDED CONSOLIDATED
25 the Common or General Interest, Any Persons     )   CLASS ACTION AND REPRESENTATIVE
   Injured, and All Others Similarly Situated,     )   ACTION COMPLAINT FOR VIOLATION
26                                                 )   OF (1) UNFAIR COMPETITION
                                 Plaintiffs,       )   (CALIFORNIA BUSINESS &
27 vs.                                             )   PROFESSIONS CODE §17200); (2) FALSE
                                                   )   AND MISLEADING ADVERTISING
28
     FIRST AMENDED CONSOLIDATED CLASS                  -1-                Palza/Palm
     ACTION COMPLAINT
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 1 PALM, INC. a.k.a. PALMONE, INC.,                   )   (BUSINESS & PROFESSIONS CODE
                                                      )   §17500); (3) BREACH OF WARRANTY; (4)
 2                                 Defendant.         )   BREACH OF SONG-BEVERLY
                                                      )   CONSUMER WARRANTY ACT
 3
                                                      )   (CALIFORNIA); AND (5) VIOLATION OF
 4                                                    )   THE CONSUMER LEGAL REMEDIES
                                                      )   ACT, CIVIL CODE SECTION §§1750 ET
 5                                                    )   SEQ.
                                                      )
 6                                                    )   DEMAND FOR JURY TRIAL
 7

 8
            Plaintiffs Mario Palza, Charles Boulais, Nissa Gay, Trevor Loew, Paul Berliner, Stephanie
 9
     Daniel, Richard Gans, and Norm Sun bring this action against Palm, Inc. a.k.a. PalmOne, Inc.
10
     (collectively “Palm” or “Defendant”), on behalf of themselves, all others similarly situated and the
11
     general public, and allege upon information and belief which is based upon the investigation of their
12
     counsel, except as to the allegations concerning Plaintiffs or their counsel which are made upon
13
     Plaintiffs’ personal knowledge, as follows:
14
     I. OVERVIEW
15
            1.      This is a class action brought by Plaintiffs on behalf of a class (the “Class”) of all
16
     consumers who purchased the Company’s Treo 600 and Treo 650 phones (“Treo 600 and 650” or
17
     “Treos”). As alleged more fully below, Palm has made misrepresentations and concealed material
18
     information in the marketing, advertising, sale and servicing of its Treos. The Treo 600 and 650 were
19
     marketed, advertised and sold as products designed to meet consumer and business requirements as
20
     “communication lifelines” and during the relevant period were among the most expensive consumer
21
     mobile phones sold. The Treos were sold as full-featured mobile phones with Palm Powered
22
     organizer, wireless email, text messaging, web browsing and a digital camera.
23
            2.      At all pertinent times, Palm represented to the public, including Class members, that
24
     the Treo 600 and 650 were quick, dependable and reliable hand-held organizers and mobile
25
     telephones; that they were free from defects; that they were of merchantable quality and
26
     workmanship. In fact, these phones suffered from extremely poor sound quality and buzzing,
27

28
     FIRST AMENDED CONSOLIDATED CLASS                     -2-                     Palza/Palm
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 1 choppiness, speakerphone problems, poor and broken screens, phone crashes, software crashes,

 2 electrical surges, and failed to properly download email messages.

 3          3.      Palm concealed material facts regarding the Treo 600 and 650, including that these

 4 fail at unacceptably high rates, are inherently defective and are not reliable storage devices or mobile

 5 phones, are not of merchantable quality, do not conform to the specifications with which Palm has

 6 claimed they comply and are not capable of being properly or reliably repaired by Palm. In fact, in

 7 an effort to combat the inherently defective nature of the Treo 600 and 650, it has been necessary for

 8 some consumers to go to extreme measures such as self-repair of the phone. The necessity of such

 9 remedial measures, however, is not disclosed by Palm to purchasers of the Treo 600 and 650, and

10 these remedial measures are not practicable for, effective for, or available to all Treo users who may

11 wish to attempt to remedy the defective nature of the Treo 600 and 650, and may void the user’s

12 warranty.

13          4.      Palm has been aware for a substantial period of time that the Treo 600 and 650

14 phones were failing at an extremely high rate. Yet, defendant failed to warn its customers of the

15 problem or tried to prevent them from suffering system failures and data losses. Palm has refused,

16 and continues to refuse, to warn consumers about the defects inherent in the Treo 600 and 650 or to

17 effectively remedy the problems and defects inherent in the Treo 600 and 650. Unwilling to admit

18 fault, Palm has sat silently while consumers purchased these defective products and continues to sit

19 silently today as a high percentage of the Treo 600 and 650’s fail to perform despite Palm’s

20 knowledge of the malfunctions. To this day, Palm has not warned customers about the risks inherent

21 in purchasing and relying upon a Treo as a mobile telephone and organizer.

22          5.      Although Palm is aware of the problems with the Treo 600 and 650, it has failed to

23 properly service its warranties and, instead, has intentionally replaced defective Treo 600 and 650s

24 with equally defective “repaired” or “refurbished” Treo 600 and 650s. Despite this, Palm requires

25 that consumers pay for shipping and packaging and other charges to repair or replace its own

26 defective products creating injury in fact and/or lost money or property for all Plaintiffs and

27 consumers who utilize the repair service.

28
     FIRST AMENDED CONSOLIDATED CLASS                    -3-                      Palza/Palm
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 1          6.      As a result of Palm’s false and misleading statements and concealment, Plaintiffs and

 2 the Class bought thousands of Treo 600 and 650 phones and were unable to use these devices as

 3 advertised and have not had any means of effective repair. The Treo 600 and Treo 650 failures

 4 continue to occur.

 5          7.      Plaintiffs assert claims under California Business and Professions Code §§17200 and

 6 17500, et seq., for breach of the Song-Beverly Consumer Warranty Act (“Song-Beverly Act”), for

 7 breach of warranty pursuant to Commercial Code §2313 and pursuant to the Consumer Legal

 8 Remedies Act (“CLRA”), California Civil Code §1750. Plaintiffs seek actual and/or compensatory

 9 damages; restitution; equitable relief, including the replacement and/or recall of the defective Treo

10 600 and 650s; costs and expenses of litigation, including attorneys’ fees; and all additional and

11 further relief that may be available.

12 II.     PLAINTIFFS SATISFACTION OF CALIFORNIA PROCEDURAL
         REQUIREMENTS
13
            8.      California Civil Code §1782 provides, in pertinent part, that:
14
            (a) Thirty days or more prior to the commencement of an action for damages
15          pursuant to this title, the consumer shall do the following:

16                  (1) Notify the person alleged to have employed or committed methods, acts,
                    or practices declared unlawful by Section 1770 of the particular alleged
17                  violations of Section 1770.

18                  (2) Demand that the person correct, repair, replace, or otherwise rectify the
                    goods or services alleged to be in violation of Section1770.
19
            The notice shall be in writing and shall be sent by certified or registered mail, return
20          receipt requested, to the place where the transaction occurred or to the person's
            principal place of business within California. . . .
21
            (d) An action for injunctive relief brought under the specific provisions of Section
22          1770 may be commenced without compliance with subdivision (a). Not less than 30
            days after the commencement of an action for injunctive relief, and after compliance
23          with subdivision (a), the consumer may amend his or her complaint without leave of
            court to include a request for damages. . . .”
24
     On September 26, 2005 Paul Berliner on behalf of himself and the class mailed Palm a 30 day notice
25
     in conformance with California Civil Code §1782, via certified mail, return receipt requested.
26
     Similarly, on September 27, 2005, Plaintiffs Mario Palza, Charles Boulais and Nissa Gay on behalf
27
     of themselves and the class mailed Palm a 30-day Notice per California Civil Code §1782, via
28
     FIRST AMENDED CONSOLIDATED CLASS                    -4-                       Palza/Palm
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 1 certified mail, return receipt requested, to Palm’s principal place of business within California which

 2 was received on September 29, 2005. See Exhibit 5 attached hereto. More than 30 days have

 3 elapsed since Plaintiffs have complied with the notification requirements under California Civil

 4 Code §1782. As expressly permitted under that statute, Plaintiffs are now filing this First Amended

 5 Consolidated Complaint to include a request for damages under the CLRA.

 6          9.      Pursuant to the California Supreme Court case Graham v. DaimlerChrysler

 7 Corporation, 34 Cal. 4th 553, 577 (2005), Plaintiff Mario Palza and his counsel sent four pre-

 8 litigation demand letters in an attempt to resolve this matter short of any litigation in this matter.

 9 Specifically, the following letters were sent:

10          August 12, 2005:     From Mario Palza, on behalf of the class, to the President and
            CEO of Palm, requesting response by August 23, 2005 (Attached as Ex. 1)
11
            August 26, 2005:        From counsel for Mario Palza, Charles Boulais, Nissa Gay,
12          and the class, to the Senior Vice President and General Counsel, requesting response
            by September 1, 2005(Attached as Ex. 2).
13
            August 30, 2005:        From counsel for Mario Palza, Charles Boulais, Nissa Gay,
14          and the class, to the Senior Vice President and General Counsel, requesting response
            by September 1, 2005 (Attached as Ex. 3).
15
            September 2, 2005: From counsel for Mario Palza, Charles Boulais, Nissa Gay,
16          and the class, to the Senior Vice President and General Counsel, requesting response
            by September 6, 2005. (Attached as Ex. 4).
17
     Only after Palm refused to contact counsel for Mario Palza, Charles Boulais, Nissa Gay regarding
18
     this issue, Plaintiffs filed in State Court on September 14, 2005. The refusal to respond to four
19
     letters satisfies Plaintiffs’ requirements to obtain attorney fees under Graham v. DaimlerChrysler
20
     Corporation, 34 Cal. 4th 553, 577 (2005) given all of the factors requiring prompt and efficient
21
     resolution of this dispute.
22
     III.   THE PARTIES
23
            10.     Plaintiff Mario Palza (“Palza”) is a resident of the State of California and the United
24
     States of America who maintains a residence in Ventura, California. Palza purchased and took
25
     delivery of a Treo 600 on or about February 23, 2005. Since that date, Palza has experienced
26
     numerous failures of the type which have made his phone unusable and which made Palm’s
27

28
     FIRST AMENDED CONSOLIDATED CLASS                    -5-                      Palza/Palm
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 1 statements about the Treo false and misleading. As a result, Palza has suffered injury in fact and has

 2 lost money or property as a result of Palm’s practices.

 3          11.     Plaintiff Charles Boulais (“Boulais”) is a resident of the State of New Jersey and the

 4 United States of America and maintains a residence in Pennsauken, New Jersey. Boulais purchased

 5 his first Treo 600 on or about October 9, 2003 and took delivery of a Treo 600 in or about early

 6 October 2003. Since that date, Boulais has experienced numerous failures of the type which have

 7 made his phone unusable and which made Palm’s statements about the Treo false and misleading.

 8 As a result, Boulais has suffered injury in fact and has lost money or property as a result of Palm’s

 9 practices.

10          12.     Plaintiff Nissa Gay (“Gay”) is a resident of the State of California and the United

11 States of America and maintains a residence in Ventura, California. Gay purchased a Treo 650 on or

12 about March 25, 2005 and took delivery of a Treo 650 on or about March 28, 2005. Since that date,

13 Gay has experienced numerous failures of the type which have made his phone unusable and which

14 made Palm’s statements about the Treo false and misleading. As a result, Gay has suffered injury in

15 fact and has lost money or property as a result of Palm’s practices.

16          13.     Plaintiff Trevor Loew (“Loew”) is a resident of the State of California and the United

17 States of America and maintains a residence in Modesto, California and goes to school in

18 Burlington, Vermont. In the past three years Loew purchased and took delivery of a Treo 600.

19 Since that date, Loew has experienced numerous failures of the type which have made his phone

20 unusable and which made Palm’s statements about the Treo false and misleading. As a result, Loew

21 has suffered injury in fact and has lost money or property as a result of Palm’s practices.

22          14.     Plaintiff Paul Berliner (“Berliner”) is a resident of New York and a citizen of the

23 United States. Berliner purchased a Treo 650 during the past three years. Berliner has experienced

24 numerous product failures of the type which have made his phone unusable and which made Palm’s

25 statements about the Treo false and misleading. As a result, Berliner has suffered injury in fact and

26 has lost money or property as a result of Palm’s practices.

27          15.     Plaintiff Richard Gans (“Gans”) is a resident of Missouri, and a citizen of the United

28 States. Gans purchased a Palm Treo 650 in the past three years. Gans has experienced numerous
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 1 product failures of the type which have made his phone unusable and which made Palm’s statements

 2 about the Treo false and misleading. As a result, Gans has suffered injury in fact and has lost money

 3 or property as a result of Palm’s practices.

 4           16.     Plaintiff Stephanie Daniel (“Daniel”) is a resident of the State of California and a

 5 citizen of the United States. Ms. Daniel maintains a residence in Belmont, California within this

 6 district. In the past three years Ms. Daniel purchased and took delivery of a Treo 600. Since that

 7 date, Daniel has experienced numerous failures of the type which have made his phone unusable and

 8 which made Palm’s statements about the Treo false and misleading. As a result, Daniel has suffered

 9 injury in fact and has lost money or property as a result of Palm’s practices.

10           17.     Plaintiff Norm Sun (“Sun”) is a citizen of the State of Virginia and the United States

11 of America who maintains a residence in Vienna, Virginia. In the past three years, Sun purchased a

12 Treo 650 as experienced numerous failures of the Treo 650 of the type which have made his phone

13 effectively unusable. As a result, Sun has suffered injury in fact and has lost money or property as a

14 result of Palm’s practices.

15           18.     Palm Inc. a.k.a. PalmOne, Inc. is a Delaware corporation with its executive offices,

16 principal place of business, and corporate headquarters at 950 W. Maude Ave., Sunnyvale,

17 California 94085, which is within this judicial district. Defendant Palm designs, manufactures,

18 markets, and promotes the Treo phones that are the subject of this complaint throughout the United

19 States.

20 IV. JURISDICTION AND VENUE

21           19.     This case is subject to original jurisdiction in this court pursuant to the Class Action

22 Fairness Act of 2005. Pub. L. No. 109-2, 119 Stat. 4 (codified in scattered section of 28

23 U.S.C.)(“CAFA”) because at least one member of the proposed class has a different citizenship from

24 the defendant and the total matter in controversy exceeds $5,000,000.

25           20.     Venue is proper in the Northern District of California pursuant to 28 U.S.C. §1391

26 because this District is the district in which the defendant resides and a district in which a substantial

27 part of the events or omissions giving rise to the claim occurred. To wit, from its headquarters in

28 Sunnyvale California, Palm designs, manufactures, markets, and promotes Treo phones. Palm also
     FIRST AMENDED CONSOLIDATED CLASS                     -7-                       Palza/Palm
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 1 sells a substantial number of Treo phones to California residents within this judicial district, and

 2 Plaintiffs are informed, believe, and thereon allege that defendant Palm’s employees and/or agents

 3 responsible for the advertising, marketing and/or promotional literature, including the product

 4 packaging for the subject products are located in this judicial district and/or the decisions concerning

 5 the design, manufacture, marketing and advertising emanated from, or were authorized and/or

 6 approved by Defendants’ corporate officers, executives and employees located in this judicial

 7 district.

 8 V. CLASS ACTION ALLEGATIONS

 9           21.    Plaintiffs bring this action pursuant to Federal Rules of Civil Procedure 23(b)(3) on

10 behalf of themselves and on behalf of all others similarly situated (“the “Class”), initially defined as:

11           All persons or entities who purchased a Treo 600 or Treo 650 model hand-held
             phones. Excluded from this Class are Palm, Inc. aka PalmOne, Inc. and its affiliates,
12           employees or agents, or persons or entities who distribute or sell the Treo 600 and
             Treo 650. Also excluded in any trial judge who may preside over this case.
13

14           22.    The members of the Class are so numerous that joinder of all members would be

15 impracticable. Plaintiffs estimate that there are several million purchasers of Treo 600 and 650

16 phones. FRCP 23(a)(1).

17           23.    There are questions of law and fact common to the members of the Class that

18 predominate over any questions affecting only individual members, including:

19           •      Whether the Treo 600 and 650 fail at unacceptably high rates, are inherently
                    defective and are not of merchantable quality.
20
             •      Whether Palm made false and/or misleading statements of fact to the Class
21                  and the public concerning the defects inherent in the Treo 600 and 650.

22           •      Whether Palm knew, or was reckless in not knowing, that its statements
                    about the performance and reliability of the Treo 600 and 650 were false
23                  and/or misleading.

24           •      Whether Palm concealed from Plaintiffs, the Class and the public that the
                    Treo 600 and 650 fail at unacceptably high rates, are inherently defective and
25                  are not of merchantable quality.

26           •      Whether Palm has undertaken a common business practice of producing and
                    selling to the public Treo 650 smartphones that fail to automatically
27                  download e-mail messages, as Defendant advertised and otherwise
                    represented.
28
     FIRST AMENDED CONSOLIDATED CLASS                     -8-                      Palza/Palm
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 1          •       Whether the Treo 600 and 650 fail to conform to Palm’s product
                    specifications, which were published and advertised to Plaintiffs, the Class
 2                  and the public.

 3          •       Whether Palm concealed from Plaintiffs, the Class and the public that the
                    Treo 600 and 650 do not conform to their product specification.
 4
            •       Whether Palm’s false and/or misleading statements of fact and its
 5                  concealment of material fact regarding the performance and reliability of
                    Treo 600 and 650 were likely to deceive the public.
 6
            •       Whether, by the misconduct set forth in this Complaint, Palm has engaged in
 7                  unfair or unlawful business practices with respect to the advertising,
                    marketing and sale of the Treo 600 and 650.
 8
            •       Whether, by the misconduct as set forth herein, Palm has engaged in unfair,
 9                  deceptive, untrue or misleading advertising of the Treo 600 and 650.

10          •       Whether Palm breached the implied covenant of good faith and fair dealing
                    with Plaintiffs, the class, and the public.
11
            •       Whether Palm was unjustly enriched by its conduct.
12
            •       Whether Palm has breached its warranties to Plaintiffs and the Class.
13
            •       Whether, as a result of Palm’s misconduct, Plaintiffs and the Class are
14                  entitled to damages, restitution, equitable relief, punitive damages, and/or
                    other damages and relief, and, if so, the amount and nature of such relief.
15
            24.     Plaintiffs’ claims are typical of the claims of the members of the Class. Plaintiffs
16
     have no interests antagonistic to those of the Class and are subject to no unique defenses and will
17
     advance the claims of all members of the Class in conformance with FRCP 23(a)(3)
18
            25.     The common questions and other predominate over questions, if any, that affect only
19
     individual members of the Class in conformance with FRCP 23(b)(3).
20
            26.     Plaintiffs’ claims are typical of, and not antagonistic to, the claims of the other class
21
     members. Plaintiffs will fairly and adequately protect the interests of the Class and have retained
22
     attorneys experienced in class and complex litigation. There are no material conflict between
23
     Plaintiffs’ claims and those of absent Class members that would make class certification
24
     inappropriate. Counsel for Plaintiffs are experienced in complex class action litigation and will
25
     vigorously assert Plaintiffs’ claims and those of the members of the Class in conformance with
26
     FCRP 23(a)(4).
27

28
     FIRST AMENDED CONSOLIDATED CLASS                     -9-                       Palza/Palm
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 1           27.     Pursuant to FRCP 23(b)(3), a class action is superior to other available methods for

 2 the fair and efficient adjudication of this controversy for the following reasons:

 3           •       It is economically impractical for each member of the Class to prosecute
                     individual actions.
 4
             •       The Class is readily definable.
 5
             •       Prosecution as a class action will eliminate the possibility of repetitious
 6                   litigation.

 7           •       A class action will enable claims to be handled in an orderly and expeditious
                     manner.
 8
             •       A class action will save time and expense and will ensure uniformity of
 9                   decisions.

10           •       Plaintiffs do not anticipate any difficulty in the management of this litigation
                     as a class action.
11
             28.     Santa Clara County, California, as the site of Palm’s headquarters and the place where
12
     all significant decision-making occurred with respect to the Treo 600 and 650, is the center of
13
     gravity for this action such that it is appropriate and consistent with existing law to certify the class
14
     of consumers proposed in the Complaint to be litigated in this District.
15
             29.     Whatever difficulties may exist in the management of the class action will be greatly
16
     outweighed by the benefits of the class action procedure, including but not limited to providing Class
17
     members with a method for the redress of claims that may not otherwise warrant individual
18
     litigation.
19
     VI.     PALM’S FALSE STATEMENTS TO THE PUBLIC
20
             30.     The purported advantage of a Palm Treo 600 or 650 is that you can use the device as
21
     both a phone and data organizer.
22
             31.     Palm represents and advertises the Treo 600 as being an exceptionally powerful and
23
     useful PDA and telephone. For example, on its Web site, Palm represents that the Treo 600 has the
24
     following attributes:
25
             Everything a smartphone should be. Only smarter. The Treo 600 combines a phone,
26           email, messaging and Internet with a built-in camera and one-handed navigation so
             it's easier than ever to get things done on the road. The real beauty? It's the size of a
27           mobile phone.

28           32.     Palm refers to Treo 600 as a “smartphone” and explains the product as follows:
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 1           The Treo 600 smartphone is an all-in-one communications device that integrates a
             mobile phone, wireless applications including email, SMS/MMS and web browsing,
 2           and a Palm Powered™ organizer into a single ultra-compact device. The vivid color
             display provides great readability both indoors and outdoors, and a built-in keyboard
 3           makes finding contacts, dialing the phone and entering data fast and easy. The central
             five-way navigation function provides easy navigation through applications and
 4           menus and dramatically improves one-handed operation. The built-in camera lets you
             capture images in a digital photo album or send them on to friends and colleagues.
 5           And finally, add content, memory and even functionality via the SD/MMC expansion
             slot, which is also SD I/O ready.
 6
             33.     Palm offers a video entitled “Kontiki” which is available at the following website:
 7
     http://web-g.kontiki.com/zodiac/servlet/zodiac/template/pub,install,GetIt.vm/moid/8f2a06cf-27df-
 8
     c2f0-9b45-6507ace1ea71/s/kdx/fallback/kdx which advertises the advantages of the Treo 600. In
 9
     this video, it is represented that the Treo has “great sound quality” and has a “speakerphone” and
10
     “the functionality attracts a lot of people.”
11
             34.     Finally, Palm represents that the Treo 600 has the following attributes:
12
             Now you can use just one device – instead of many – to get it all done. The Treo™
13           600 smartphone from Palm seamlessly combines a full-featured mobile phone and
             Palm Powered™ organizer with wireless email2 and text messaging, web browsing
14           and even a digital camera – all in one device that's so small it fits right in your
             pocket. Plus, because everything is totally integrated – including the full QWERTY
15           keyboard – it’s amazingly easy to use.

16           The Treo™ 600 smartphone gives you everything you'd expect from a top-of-the-line
             mobile phone – like a built-in speakerphone, mute button and caller ID – plus a
17           whole lot more. Slide the ringer switch – right on top of the phone – to instantly
             silence all ringers, alarms and system sound. Dial anyone in your address book
18           instantly just by typing their name or initials. The Treo 600 smartphone makes using
             even the advanced features of your phone easier than you'd ever thought possible.
19
             35.     Palm represents that the Treo 650 has the following attributes:
20
             The Treo™ 650 smartphone from Palm makes it easier than ever to stay connected. It
21           simplifies your life by combining a compact mobile phone with email, an organizer,
             messaging, and web access. There’s also Bluetooth® technology so you can connect
22           wirelessly to other Bluetooth devices. Not to mention an MP3 player, a digital
             camera that captures video, and a vibrant color screen that brings everything to life –
23           all in a device that’s still small enough to fit in your pocket. Seems like Treo
             smartphones just keep getting smarter.
24
             …
25
             Everything you'll find in the Treo 600 smartphone and more, we've enhanced the
26           camera with video capture, built in a vibrant 320x320 color screen, included an MP3
             player and added Bluetooth® technology. Seems like Treo smartphones just keep
27           getting smarter.

28           …
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 1         Pick up a smarter phone.

 2         The Treo 650 smartphone looks and feels just like a phone, but it’s so much more.
           Carry thousands of business and personal phone numbers with you, and dial any of
 3         them by name from your contacts list. Or enter a name or number on the QWERTY
           keyboard. There’s even an on-screen dial pad, speakerphone, speed dial, conference
 4         calling, call history, and caller ID make managing all your calls that much easier.
           Available as a dual-band digital CDMA phone, and as a GSM quad-band world
 5         phone.

 6         Stay connected with email3 and messaging.

 7         The included VersaMail® email client makes it easy to access and manage your
           email on the go – whether you use a popular desktop email client, IMAP or POP3.
 8         View photos, HTML, and even native Microsoft Word, Excel, and PowerPoint
           attachments. Synchronize your corporate Microsoft Exchange email and calendar
 9         with built-in Microsoft Exchange ActiveSync®. Or, opt to exchange quick thoughts,
           ideas, and images on the fly – all from a single inbox – with the built-in text and
10         picture messaging application. With your messages threaded in a chat-style view,
           you'll be able to see the entire conversation.
11
           Organize your entire world.
12
           With Calendar, Contacts, Tasks, Memos and more, the Treo 650 smartphone lets you
13         organize and simplify your business and personal life – all in one place. You can
           synchronize your calendar and contacts with your computer, so everything’s always
14         up to date. Plus, if you already have a Palm Powered™ handheld or smartphone, you
           can transfer your information with the touch of a button. Best of all, you can expand
15         the functions of your Treo smartphone by adding any of the thousands of
           applications available for Palm Powered™ devices.
16
           Access the Internet.
17
           Access a whole world of websites – without wires. Get driving directions from the
18         road. Check the latest headlines while waiting in line. Or download ringtones,
           applications and more, directly to your device. Web sites load quickly and the built-
19         in Blazer® web browser even displays frames.

20         Point. Shoot. Play.

21         Optimized for multimedia, the Treo 650 does it all. Take and play your favorite tunes
           by transferring MP3s from your desktop. Or use the built-in digital camera to snap
22         pictures and capture video and create digital photo/video albums to take on the road.
           Then show off your shots on a bright color screen that brings everything to life –
23         even in sunlight. Better yet, point, shoot and share your moments instantly via email
           or picture messaging. And, with the MultiMediaCard/SD expansion slot you can add
24         even more pictures and music, plus books, games, memory – you name it…

25         36.     The Treo 650 is advertised as being able to automatically download email messages

26 and Palm represents on its website that the Treo 650 will “get business and personal email

27 automatically    downloaded     to    your   phone      based   on   a   schedule   you    specify.”

28 (http://web.palmone.com/products/smartphones/treo650/versamail.jhtml.)
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 1          37.     With the Treo 650 phone, Palm provides purchasers a “User Guide for the

 2 VersaMail® Application.” The VersaMail feature was intended to provide the Treo 650 will the

 3 capability to automatically download email messages. The User Guide describes how to configure

 4 the Treo 650 to permit the automatic download of email messages, explaining that “You can set up

 5 different schedules for each of your email accounts.” The User Guide describes the VersaMail

 6 feature as permitting the consumer to set the schedule for messages to be automatically downloaded

 7 to the Treo 650 at intervals as frequently as every “5 minutes” and indicates that you can set your

 8 phone to alert you “with a beep or alert sound . . . when a new message arrives in your account.”

 9          38.     As recently as June 2005, Palm made the following representations on its website

10 regarding the Treo 650 automatic email download feature called VersaMail:

11          Your email on your schedule.

12          Stay on top of your life with Auto Sync: get business and a personal email
            automatically downloaded to your phone based on a schedule you specify, and new
13          mail alerts based on your preferences. VersaMail supports up to 8 email accounts —
            POP, IMAP, APOP, and ESMTP.
14
            (http://web.palmone.com/products/smartphones/treo650/versamail.)
15
     VII.           PLAINTIFF’S ACTUAL EXPERIENCES WITH TREO PHONES
16
            39.     In fact, the Treo 600 and 650, were defective. In particular, Treos fail at unacceptably
17
     high rates, are inherently defective and are not reliable storage devices or mobile phones, are not of
18
     merchantable quality, do not conform to the specifications with which Palm has claimed they
19
     comply, are not capable of receiving email “automatically” as promised, and are not capable of being
20
     properly or reliably repaired by Palm. In fact, in an effort to combat the inherently defective nature
21
     of the Treo 600 and 650, it has been necessary for some consumers to go to extreme measures such
22
     as self-repair of the phone. The necessity of such remedial measures, however, is not disclosed by
23
     Palm to purchasers of the Treo 600 and 650, and these remedial measures are not practicable for,
24
     effective for, or available to all Treo users who may wish to attempt to remedy the defective nature
25
     of the Treo 600 and 650, and may void the user’s warranty.
26

27

28
     FIRST AMENDED CONSOLIDATED CLASS                    - 13 -                    Palza/Palm
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 1          40.    Plaintiff Palza purchased a Treo 600 for himself in February 2005 and paid in excess

 2 of $410.00 for this device. Since that date, Palza has experienced numerous failures of the Treo

 3 since the date of purchase, including, but not limited to:

 4          •      Extremely poor sound quality and buzzing which is heard by the recipients of
                   telephone calls, which makes the Treo unusable and makes recipients believe
 5                 that the Treo owner is in a very noisy place when making the phone call (not
                   caused by telephone service provider).
 6
            •      Voice choppiness which is heard by the recipients of telephone calls which
 7                 makes the Treo an extremely poor telephone (not caused by telephone service
                   provider).
 8
            •      Speakerphone problems making the speakerphone unusable or seriously
 9                 impaired.

10          •      Defective screens or bubbles impairing the function of the phone and
                   organizer.
11
            •      Phone freezes and crashes often causing restarts and lost calls, which often
12                 require the use of a hard reset which loses all stored information (not caused
                   by telephone service provider).
13
            •      Replacement of defective Treo 600 phones with defective and/or
14                 “refurbished” Treo 600 phones - creating a cycle of defective product -
                   whereby owners continue to receive defective products until either they tire
15                 of the process or their warranty runs out.

16 As a result, Palza has suffered injury in fact and has lost money or property as a result of Palm’s

17 practices.

18          41.    Plaintiff Boulais purchased a Treo 600 for himself in October 2003 and paid in excess

19 of $ 740.00 for this device. Since that date, Boulais has experienced numerous failures of the Treo

20 since the date of purchase, including, but not limited to:

21          •      Extremely poor sound quality and buzzing heard by the recipients of
                   telephone calls made from the Treo 600 which makes the Treo unusable and
22                 makes recipients believe that the Treo owner must be in a very noisy place
                   when making the phone call and makes the Treo an extremely poor telephone
23                 and essentially useable (not caused by telephone service provider).

24          •      Electrical surges causing damage to screen and shocking user.
25          •      Camera does not function.
26          •      MP3 player is useless.
27          •      Headset jack problems causing sound to cut out when using a headset (not
                   caused by telephone service provider).
28
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 1          •       Defective screens making the phone and organizer difficult if not impossible
                    to use.
 2
            •       Phone freezes and crashes causing restarts and lost calls and requiring the use
 3                  of a hard reset which loses all stored information (not caused by telephone
                    service provider).
 4
            •       Replacement of defective Treo 600 phones with defective and/or
 5                  “refurbished” Treo 600 phones - creating a cycle of defective product -
                    whereby owners continue to receive defective products until either they tire
 6                  of the process or their warranty runs out. Plaintiff Charles Boulais is
                    currently on his fifth replacement Treo 600, which continues to experience
 7                  one or more of the problems listed herein at any given time.

 8
     As a result, Boulais has suffered injury in fact and has lost money or property as a result of Palm’s
 9
     practices.
10
            42.     Plaintiff Gay purchased a Treo 650 for herself in March 2005 and paid in excess of
11
     $499.00 for this device. Since that date, Gay has experienced numerous failures of the Treo since
12
     the date of purchase, including, but not limited to:
13
            •       SIM card transferability problems.
14
            •       Software that continually crashes (approximately 10 times a day) cutting off
15                  calls and requiring restarts (not caused by telephone service provider).

16          •       Inability to efficiently eliminate duplicate information.
17          •       Replacement of defective Treo 650 phones with defective Treo 650 phones -
                    creating a cycle of defective product - whereby owners continue to receive
18                  defective products until either they tire of the process or their warranty runs
                    out.
19

20 As a result, Gay has suffered injury in fact and has lost money or property as a result of Palm’s

21 practices.

22          43.     Plaintiff Loew purchased a Treo 600 for himself and paid in excess of $300.00 for

23 this device. Since that date, Loew has experienced numerous failures of the Treo since the date of

24 purchase, including, but not limited to:

25          •       Extremely poor sound quality which makes the Treo unusable and makes
                    recipients believe that the Treo owner is in a very noisy place when making
26                  the phone call (not caused by telephone service provider).

27          •       Voice choppiness which is heard by the recipients of telephone calls which
                    makes the Treo an extremely poor telephone (not caused by telephone service
28                  provider).
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 1          •       Speakerphone problems making the speakerphone unusable or seriously
                    impaired.
 2
            •       Defective screens impairing the function of the phone and organizer.
 3
            •       Phone freezes and crashes often causing restarts and lost calls, which often
 4                  require the use of a hard reset which loses all stored information (not caused
                    by telephone service provider).
 5
            •       Replacement of defective Treo 600 phones with defective Treo 600 phones -
 6                  creating a cycle of defective product - whereby owners continue to receive
                    defective products until either they tire of the process or their warranty runs
 7                  out.

 8 As a result, Loew has suffered injury in fact and has lost money or property as a result of Palm’s

 9 practices.

10          44.     Plaintiff Berliner purchased a Treo 650 for himself within the relevant statutory

11 period. Since that date, Berliner has experienced numerous failures of the Treo since the date of

12 purchase, including, but not limited to:

13          •       Extremely poor sound quality which makes the Treo unusable and makes
                    recipients believe that the Treo owner is in a very noisy place when making
14                  the phone call (not caused by telephone service provider). This problem
                    required Daniel to purchase a headset to partially remedy the problem.
15
            •       Voice choppiness which is heard by the recipients of telephone calls which
16                  makes the Treo an extremely poor telephone (not caused by telephone service
                    provider).
17
            •       Speakerphone problems making the speakerphone unusable or seriously
18                  impaired.

19          •       Defective screens impairing the function of the phone and organizer.
20          •       Phone freezes and crashes often causing restarts and lost calls, which often
                    require the use of a hard reset which loses all stored information (not caused
21                  by telephone service provider).

22 As a result, Berliner has suffered injury in fact and has lost money or property as a result of Palm’s

23 practices.

24          45.     Plaintiff Gans purchased a Treo 650 for himself within the relevant statutory period.

25 Since that date, Gans has experienced numerous failures of the Treo since the date of purchase,

26 including, but not limited to:

27          •       Device freezing, requiring frequent resets.
28          •       Loss of all data and settings when hard reset required.
     FIRST AMENDED CONSOLIDATED CLASS                   - 16 -                    Palza/Palm
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 1          •      Duplicate data in the calendar and in contacts.
 2 As a result, Gans has suffered injury in fact and has lost money or property as a result of Palm’s

 3 practices.

 4          46.    Plaintiff Daniel purchased a Treo 600 for herself and paid in excess of $250.00 for

 5 this device. Since that date, Daniel has experienced numerous failures of the Treo since the date of

 6 purchase, including, but not limited to:

 7          •      Extremely poor sound quality which makes the Treo unusable and makes
                   recipients believe that the Treo owner is in a very noisy place when making
 8                 the phone call (not caused by telephone service provider). This problem
                   required Daniel to purchase a headset to partially remedy the problem.
 9
            •      Voice choppiness which is heard by the recipients of telephone calls which
10                 makes the Treo an extremely poor telephone (not caused by telephone service
                   provider).
11
            •      Speakerphone problems making the speakerphone unusable or seriously
12                 impaired.
13          •      Phone freezes and crashes often causing restarts and lost calls, which often
                   require the use of a hard reset which loses all stored information (not caused
14                 by telephone service provider).
15          •      Battery which has provides an extremely short phone charge.
16 As a result, Daniel has suffered injury in fact and has lost money or property as a result of Palm’s

17 practices.

18          47.    Plaintiff Sun purchased a Treo 650 February 2005 straight from Palm and paid in

19 excess of $600.00 for this device. Since that date, Sun has experienced numerous failures of the

20 Treo since the date of purchase, including, but not limited to:

21          •      Software that continually crashes cutting off calls and requiring restarts (not
                   caused by telephone service provider).
22
            •      Replacement of defective Treo 650 phones with defective Treo 650 phones -
23                 creating a cycle of defective product - whereby owners continue to receive
                   defective products until either they tire of the process or their warranty runs
24                 out.

25          •      Phone that randomly turns off
26          •      Poor sound quality
27          •      Random resets
28          •      Speaker phone has problems
     FIRST AMENDED CONSOLIDATED CLASS                  - 17 -                    Palza/Palm
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 1 As a result, Sun has suffered injury in fact and has lost money or property as a result of Palm’s

 2 practices.

 3          48.     Plaintiffs relied heavily upon the reliability of the Treo to conduct their phone calls as

 4 well as to organize and assist in personal organization.

 5          49.     Plaintiffs’ Treos have failed, and as a result, Plaintiffs has been unable to conduct

 6 phone calls properly (problems not caused by their telephone service providers) or rely upon the

 7 Treos to properly maintain certain valuable data.

 8          50.     On each occasion that Plaintiffs have been required to return the Treo for

 9 replacement, upon information and belief, Palm, or it agents or resellers, have returned an equally

10 defective Treo to Plaintiffs. Rather than taking any action to truly repair the defect in the Treo 600

11 and 650, upon information and belief, Palm simply returns the Treo 600 and 650s to the approximate

12 defective condition in which they were sold. To date, Palm remains unwilling and/or unable to take

13 any effective action to remedy the defects in the Treo 600 and 650. Palm is and has been aware of

14 the scope of the problems with the Treo 600 and 650 but has failed to take substantial corrective

15 action. Palm has taken only minimal action in response to consumer complaints as it literally

16 responds by seeking to “run out the clock” on the warranties that accompanied the Treo 600 and 650

17 by replacing defective product with defective product.

18          51.     Palm has consistently misrepresented the quality and reliability of the Treo 600 and

19 650 and their ability to be used as both an organizer and a phone. For many months, if not years,

20 Palm has been aware that the Treo 600 and 650 are defective. Nevertheless, Palm has not

21 acknowledged the problem or provided any notice to the public. Palm has received or is aware of a

22 huge volume of customer complaints. Palm has been made aware that the Treo 600 and 650 are

23 defective and highly likely to fail, yet Palm has never publicly admitted that there is any defect or

24 difficulty with respect to the Treo 600 and 650 or attempted to remedy the problems. To the

25 contrary, Palm has taken steps to actively conceal and deny the existence of problems with the Treo

26 600 and 650.

27          52.     The harm caused by Palm’s false and misleading statements and omissions grossly

28 outweigh any benefit that could be attributed to them.
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 1          53.     Unless notice is provided to the Class, and a recall instituted, most other users of Treo

 2 600 and 650 will eventually suffer the same fate, at considerable cost, expense and loss as Plaintiffs

 3 have suffered and continue to suffer to date.

 4 VIII.           NON-WAIVABILITY OF THE PROTECTIONS PROVIDED BY
       CALIFORNIA LAW
 5
           54.     Palm’s shrink wrap “limited warranty” provided to U.S. purchasers of Treo phones
 6
   states:
 7
           GOVERNING LAW: This Limited Warranty shall be governed by the laws of the
 8         State of California, U.S.A., and by the laws of the United States, excluding their
           conflict of law principles.
 9
   Similarly, Palm’s Software License Agreement provided to U.S. purchasers of Treo phones states:
10
           GOVERNING LAW: This License Agreement shall be governed by the laws of the
11         State of California and by the laws of the United States, excluding their conflicts of
           laws principles.
12
   As such, Palm is estopped from claiming that California law does not apply to this case on
13
   nationwide basis.
14
           55.     Under a number of California consumer statutes the consumer product protections of
15
   California law are unwaivable by. For example, the Song-Beverly Act states expressly:
16
           Any waiver by the buyer of consumer goods of the provisions of this chapter, except
17         as expressly provided in this chapter, shall be deemed contrary to public policy and
           shall be unenforceable and void.
18
   Similarly, the CLRA §1751 states expressly:
19
           Any waiver by a consumer of the provisions of this title is contrary to public policy
20         and shall be unenforceable and void.

21          56.     As such, California law applies to this action unmitigated by any express or implied

22 waivers which would be unenforceable and void under California law.

23 IX.      CAUSES OF ACTION
24          A.      First Cause of Action for Violation of Bus. & Prof. Code §17200 by
                    Plaintiffs Individually, as a Class Action and on Behalf of the
25                  Common or General Interest
26          57.     Plaintiffs reallege and incorporate the above allegations by reference as if set forth

27 fully herein

28
     FIRST AMENDED CONSOLIDATED CLASS                    - 19 -                     Palza/Palm
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 1           58.    Plaintiffs bring this cause of action on behalf of themselves, on behalf of the Class

 2 and on behalf of the common or general interest. Plaintiffs have suffered injury in fact and lost

 3 money or property as a result of such unfair competition.

 4           59.    Palm has engaged in unfair, unlawful and fraudulent business practices as set forth

 5 above and has been unjustly enriched thereby.

 6           60.    By engaging in the above-described acts and practices, Palm has committed one or

 7 more acts of unfair competition within the meaning of Bus. & Prof. Code §17200, et seq.

 8           61.    Palm’s acts and practices have and/or are likely to deceive members of the consuming

 9 public.

10           62.    Palm’s acts and practices are unlawful because they violate Civ. Code §§1572, 1709,

11 1710, 1770(a)(5), 1770(a)(7) and 1770(a)(9). Palm’s acts and practices are also unlawful because

12 they violate Bus. & Prof. Code §17500, et seq. Specifically, Palm marketed and sold the Treos in

13 defective condition and deceptively failed to disclose their defects as described above. Said

14 marketing and sales, including said omissions, were material and substantial. Palm’s acts and

15 practices are also unlawful because they violate the Song-Beverly Act, Civ. Code §1790, et seq.

16           63.    Plaintiffs, on behalf of themselves, on behalf of the Class and on behalf of the

17 common or general interest, seek an order of this Court awarding restitution, disgorgement,

18 injunctive relief and all other relief allowed under §17200, et seq., plus interest, attorneys’ fees and

19 costs pursuant to, inter alia, C.C.P. §1021.5.

20           64.    Plaintiffs meet the standing requirements of C.C.P. §382 to bring this cause of action

21 because, among other reasons, the question is one of a common or general interest, is a question of

22 many persons and/or the parties are numerous and it is impracticable to bring them all before the

23 Court.

24

25           B.     Second Cause of Action for Violation of Bus. & Prof. Code §17500 by
                    Plaintiffs Individually, as a Class Action and on Behalf of the
26                  Common or General Interest
27           65.    Plaintiffs reallege and incorporate the above allegations by reference as if set forth

28 fully herein.
     FIRST AMENDED CONSOLIDATED CLASS                    - 20 -                   Palza/Palm
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 1          66.     Plaintiffs bring this cause of action on behalf of themselves, on behalf of the Class

 2 and on behalf of the common or general interest. Plaintiffs have suffered injury in fact and have lost

 3 money or property as a result of Defendant’s violation of Bus. & Prof. Code §17500, et seq.

 4          67.     Beginning in or before June 2003, Palm (and its predecessor Handspring) engaged in

 5 advertising and marketing to the public and offered the Treos for sale throughout the United States,

 6 including California, and the world.

 7          68.     Palm has engaged in the advertising and marketing alleged herein with an intent to

 8 directly or indirectly induce the purchase of the Treo 600 and 650

 9          69.     Palm’s advertisements and marketing representations regarding the technical and

10 other characteristics of the Treo 600 and 650 are false, misleading and deceptive as set forth more

11 fully above.

12          70.     At the time Palm made and disseminated the statements alleged herein, it knew or

13 should have known that the statements were untrue or misleading, and acted in violation of Bus. &

14 Prof. Code §17500, et seq.

15          71.     Palm actively concealed its knowledge that the Treo 600 and 650 contained inherent

16 defects.

17          72.     Plaintiffs have been harmed. Plaintiffs, on behalf of themselves, on behalf of the

18 Class and on behalf of the common or general interest, seek restitution, disgorgement, injunctive

19 relief and all other relief allowable under §17500, et seq.

20          73.     Plaintiffs meet the standing requirements of C.C.P. 382 to bring this cause of action

21 because, among other reasons, the question is one of a common or general interest, is a question of

22 many persons and/or the parties are numerous and it is impracticable to bring them all before the

23 Court.

24          C.      Third Cause of Action for Breach of Express Warranty by Plaintiffs
                    Individually and on Behalf of all Others Similarly Situated
25

26          74.     Plaintiffs reallege and incorporate the above allegations by reference as if set forth

27 fully herein at length.

28
     FIRST AMENDED CONSOLIDATED CLASS                   - 21 -                   Palza/Palm
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 1          75.     Under the explicit terms of Palm’s warranty, each Treo came with an express

 2 warranty.

 3          76.     Palm’s written warranty stated that each Treo was free of defects in materials and

 4 workmanship and conformed to Palm’s product specifications.

 5          77.     Palm breached its express warranties, as set forth above, by supplying the Treo 600

 6 and 650 in condition where they do not perform the most basic and essential function of a hand-held

 7 phone and personal organizer as well as operating without crashing, failing and/or losing data.

 8          78.     Palm has received timely notice of the breaches of warranty alleged herein pursuant

 9 to Commercial Code §2607(3)(A). Plaintiffs have provided Palm with notice of the defects in the

10 Treo 600 and 650 and, nonetheless, Palm has continued to replace defective Treo 600 and 650s with

11 other Treo 600 and 650s, many of which replacements have already failed.

12          79.     In addition, Palm has received, upon information and belief, dozens of complaints and

13 other notices from its customers world-wide advising Palm of the defects in the Treo 600 and 650,

14 including many from California residents and residents of the United States. Despite this notice and

15 Palm’s knowledge, Palm continues to replace defective Treo 600 and 650s with similarly defective

16 Treo 600 and 650s.

17          80.     Palm has failed to provide to Plaintiffs or the Class, as a warranty replacement, a

18 hand-held computer that conforms to the qualities and characteristics that Palm expressly warranted

19 when it sold the Treo 600 and 650 to Plaintiffs and members of the Class.

20          81.     Despite requests to do so, Palm consistently refuses to repair or replace the Treo 600

21 and 650 with phones which are not similarly defective. As a result, Class members, including

22 Plaintiffs, who demanded such replacements were forced and continue to be forced to await the

23 substantially certain failure of the Treo 600 and 650 and suffer the accompanying losses of data, time

24 and money.

25          82.     Palm further breaches its warranty in its essential purpose by replacing one defective

26 product with another defective product. Many customers, including Plaintiffs, have been forced to

27 proceed through this “Warranty Process” on multiple occasions just to have the replacement Treo

28
     FIRST AMENDED CONSOLIDATED CLASS                   - 22 -                   Palza/Palm
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 1 600 and 650 fail as well, resulting in additional phone inconveniences and expense. Replacing one

 2 defective product with another equally defective or inferior product is a breach of warranty.

 3          83.    Applying any warranty limitation to avoid the need to repair this particular defect

 4 would be unconscionable in that, inter alia, the Treo 600 and 650 contain an inherent defect that was

 5 already present at the time of purchase and Palm knew or was reckless in not knowing about this

 6 defect, which could not be discovered by Plaintiffs and members of the Class at the time of purchase,

 7 and purchasers lacked any meaningful choice with respect to the warranty terms.

 8          84.    As a result of Palm’s breach of express warranty, Plaintiffs and the Class have

 9 suffered damages in an amount to be determined at trial.

10          D.     Fourth Cause of Action for Breach of the Song-Beverly Act by
                   Plaintiffs Individually and on Behalf of all Others Similarly Situated
11

12          85.    Plaintiffs reallege and incorporate the above allegations by reference as if set forth

13 fully herein.

14          86.    Plaintiffs assert the fourth Cause of Action individually, on behalf of the Class and on

15 behalf of the common or general interest for breach of implied warranty under the Song-Beverly

16 Act, Civ. Code §1790, et seq.

17          87.    The Treo 600 and 650 are “consumer goods” within the meaning of Civ. Code

18 §1791(a).

19          88.    Palm’s express warranty and implied warranty of merchantability arose out of and/or

20 were related to the sales of the Treo 600 and 650.

21          89.    As set forth more fully above, Palm has failed to comply with its obligations under its

22 express warranty and under its implied warranty of merchantability.

23          90.    Plaintiffs and the Class have suffered and will continue to suffer damages as a result

24 of Palm’s failure to comply with its warranty obligations. Accordingly, Plaintiffs and the Class are

25 entitled to recover such damages under the Song-Beverly Act, including damages pursuant to Civ.

26 Code §§1791.1(d) and 1974.

27

28
     FIRST AMENDED CONSOLIDATED CLASS                   - 23 -                    Palza/Palm
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 1           91.    Palm’s breaches of warranty, as set forth above, were willful. Accordingly, a civil

 2 penalty should be imposed upon Defendant in an amount not to exceed twice the amount of actual

 3 damages.

 4           E.     Fifth Cause of Action for Violation of the CLRA by Plaintiffs
                    Individually, on Behalf of the Common or General Interest Pursuant
 5                  to the Standing Provisions of C.C.P. §382 and as a Class Action on
                    Behalf of all Others Similarly Situated.
 6

 7           92.    Plaintiffs reallege and incorporate the above allegations by reference as if set forth

 8 fully herein.

 9           93.    Plaintiffs bring this claim individually and on behalf of the Class against Defendant.

10           94.    Defendant has engaged in deceptive practices, unlawful methods of competition

11 and/or unfair acts as defined by Civ. Code §1750, et seq. to the detriment of Plaintiffs, members of

12 general public and the Class. Plaintiffs, the general public and members of the Class have suffered

13 harm as a proximate result of the violations of law and wrongful conduct of Defendant alleged

14 herein.

15           95.    Defendant intentionally, knowingly and unlawfully perpetrated harm upon Plaintiffs

16 by the above described facts. To wit, Defendant’s actions in selling defective products and failing to

17 remedy these defects have violated the following provisions of the CLRA:

18                  (a)     Civil Code §1770(a)(5):       Representing that goods or services have

19 sponsorship, approval, characteristics, ingredients, uses, benefits or quantities which they do not

20 have.

21                  (b)     Civil Code §1770(a)(7): Representing that goods or services are of a

22 particular standard, quality or grade, or that goods are of a particular style or model, if they are of

23 another.

24                  (c)     Civil Code §1770(a)(9): Advertising goods or services with intent not to sell

25 them as advertised.

26                  (d)     Civil Code §1770(a)(14): Representing that a transaction confers or involves

27 rights, remedies or obligations which it does not have or involve, or which are prohibited.

28
     FIRST AMENDED CONSOLIDATED CLASS                   - 24 -                    Palza/Palm
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 1                 (e)     Civil Code §1770(a)(19): Inserting an unconscionable provision in the

 2 contract.

 3          96.    Defendant’s policies and practices are unlawful, unethical, oppressive, fraudulent and

 4 malicious. The gravity of the harm to all consumers and to the general public from Defendant’s

 5 policies and practices far outweighs any purported utility those policies and practices have.

 6          97.    Pursuant to Civ. Code §1780(a), Plaintiffs seek an order enjoining Defendant from

 7 engaging in the methods, acts or practices alleged herein.

 8          98.    Pursuant to Civ. Code §1782, if Defendant does not rectify its illegal acts within 30

 9 days, Plaintiffs intend to amend this Complaint to add claims for:

10                 (a)     actual damages;

11                 (b)     restitution of money to Plaintiffs, the general public and Class members;

12                 (c)     punitive damages;

13                 (d)     attorneys’ fees and costs; and

14                 (e)     other relief that this Court deems proper.

15 X. PRAYER FOR RELIEF

16          99.    Wherefore, Plaintiffs, on behalf of themselves, all others similarly situated and the

17 general public, pray for judgment against Palm as follows:

18          •      An order certifying this case as a class action and appointing Plaintiffs and its
                   counsel to represent the Class.
19
            •      An injunction against Palm selling, directly or indirectly, defective
20
                   smartphones.
21
            •      Restitution and disgorgement of all amounts obtained by Palm as a result of
22                 its misconduct, together with interest thereon from the date of payment, to the
                   victims of such violations.
23
            •      Actual damages for injuries suffered by Plaintiffs and the Class.
24

25          •      Compensatory money damages according to proof.

26          •      Punitive damages.

27          •      Attorneys’ fees and costs.

28
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 1        •      An order requiring Palm to immediately cease its wrongful conduct as set
                 forth above; enjoining Palm from continuing to falsely market and advertise,
 2               conceal material information and conduct business via the unlawful and
 3               unfair business acts and practices complained of herein; ordering Palm to
                 engage in a corrective notice campaign; and requiring Palm to implement a
 4               full replacement program of all defective Treo 600 and 650s at issue with
                 new, fully functional, non-defective, replacement smartphones of equal or
 5               greater advertised specifications, to refund to Plaintiffs and all members of
                 the Class the funds paid to Palm for the defective Treo 600 and 650s;
 6               ordering Palm to disgorge all profits improperly obtained as a result of its
 7               conduct and establishing a fund thereof for the benefit of plaintiffs and the
                 class; and requiring Palm to pay for reasonable attorneys’ fees and costs of
 8               prosecuting this action.

 9        •      For statutory prejudgment interest.
10        •      For such other relief as this Court may deem just and proper.
11 XI. JURY DEMAND

12        Plaintiffs demand a trial by jury for all claims and causes of action triable by jury.
13 DATED: January 31, 2006                       ROTHKEN LAW FIRM
14

15                                               By:_____________________________
                                                             Ira P. Rothken
16
                                                 LAW OFFICES OF MALLISON & MARTINEZ
17

18
                                                 By:____________________________
19                                                          Stan S. Mallison

20                                               By:___________________________
                                                             Hector Martinez
21

22                                               RALPH M. STONE
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23
                                                 JONATHAN SHUB
24                                               SHELLER, LUDWIG & BADEY, P.C.

25                                               Co-Lead Counsel for Plaintiffs

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27

28
     FIRST AMENDED CONSOLIDATED CLASS                  - 26 -                   Palza/Palm
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